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                                                                        District Judge Richard A. Jones
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                            UNITED STATES DISTRICT COURT FOR THE
 8                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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10     E.L.A. and O.L.C.,                                 Case No. C20-1524-RAJ

11                            Plaintiffs,                 SECOND STIPULATED MOTION FOR
                                                          ORDER OF 60-DAY ABEYANCE
12                    v.
13                                                        NOTE ON MOTION CALENDAR:
       UNITED STATES OF AMERICA,
                                                          SEPTEMBER 7, 2021
14
                              Defendant.
15

16          The Parties, by and through the undersigned counsel, jointly stipulate and move the Court
17 for a second 60-day abeyance of this matter. On July 9, 2021, the Court granted the parties’ first

18 request for a 60-day abeyance. Dkt. No. 26.

19          Since then, the United States and the group of counsel coordinating negotiations on
20 behalf of plaintiffs and claimants (“Coordinating Counsel”) continue to make significant

21 progress in their effort to settle the district court cases nationwide and pending administrative tort

22 claims arising from family separations at the U.S./Mexico border that occurred during the prior

23 administration. During the current stay period, the United States and Coordinating Counsel

24 continued to meet frequently and narrowed their differences on important elements of the

25 settlement framework. However, due to the scale and complexity of the settlement effort,

26 additional time is needed to reach a final agreement. To facilitate these ongoing discussions, the
27

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                 Case 2:20-cv-01524-RAJ Document 27 Filed 09/07/21 Page 2 of 4




 1 parties jointly request that this action, including all proceedings and case deadlines, be held in

 2 abeyance for an additional 60 days.

 3          Therefore, the parties stipulate and agree that good cause exists for an Order:
 4          1.       Holding this matter in abeyance for 60 days until November 8, 2021;
 5          2.       That, if this matter is not settled by November 8, 2021, the parties will jointly
 6 update the Court and either seek an additional abeyance or continue the litigation.

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                                                    Respectfully submitted,
 8
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                                                    s/ Aaron Korthuis
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21                                                  s/ Susan Baker Manning
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            Case 2:20-cv-01524-RAJ Document 27 Filed 09/07/21 Page 3 of 4




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            Case 2:20-cv-01524-RAJ Document 27 Filed 09/07/21 Page 4 of 4




 1                                      ORDER
 2        IT IS SO ORDERED.
 3
          Dated this         day of                         _____, 2021.
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 6
                                               The Honorable Richard A. Jones
 7                                             United States District Judge

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